                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF LOUISIANA
                                      LAFAYETTE DIVISION

                                                      §
  IN RE:                                              §       Chapter 11
                                                      §
  COCHON PROPERTIES, LLC                              §       Case No. 17-50706
                                                      §
              Debtors.                                §       (Jointly Administered)
                                                      §


                             DEBTORS’ MOTION FOR FINAL DECREE
                              PURSUANT TO FED. R. BANKR. P. 3022

         Cochon Properties, LLC and ARO Solutions, LLC (f/k/a/ Morrison Well Services, LLC

(“Debtors”) by and through counsel, pursuant to Sections 105 and 350(a) of the Bankruptcy

Code and Fed. R. Bankr. P. 3022, move for the entry of a final decree as to Cochon Properties,

LLC and Morrison Well Services, LLC, and in support, states as follows:

         1.         The Debtors filed for relief under Chapter 11 of Title 11, United States Code (the

“Bankruptcy Code”) on June 2, 2017 (“Petition Date”).

         2.         By Order entered January 30, 2018, (the “Confirmation Order”), the Court

confirmed the Chapter 11 Plan of Reorganization (the “Plan”). The Confirmation Order is a

final order. On March 19, 2018, the effective date (the “Effective Date”) occurred for the Plan.

         3.         Subsequent to entry of the Confirmation Order, the Plan was substantially

consummated pursuant to 11 U.S.C. § 1101(2) and 1127(b) including:

         a.         Transfer of all or substantially all of the property proposed by the Plan to be
                    transferred;

         b.         Assumption by the debtors or by the successor to the debtors under the Plan of the
                    business or of the management of all or substantially all of the property dealt with
                    by the Plan; and

         c.         Commencement of distribution under the Plan.



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         4.         All Priority claims and all administrative claims have been paid in full.

         5.         All other contested matters and adversary proceedings have been resolved.

         WHEREFORE, Debtors respectfully request a final decree closing the estate and

containing such further provisions as may be equitable or otherwise appropriate.



Dated: September 7, 2018                      Respectfully submitted,

                                              BAKER, DONELSON, BEARMAN,
                                              CALDWELL & BERKOWITZ
                                              A Professional Corporation

                                              By: __/s/ Jan M. Hayden______
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                                                  AND

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                                     Counsel for the Reorganized Debtors




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